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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

GROVANO INC., Individually and on §
Behalf of All Others Similarly Situated, §

Plaintiffs,
v. : SA-24-CV-631-JKP (HJB)
ROCKET ENTERPRISES, LLC, :

Defendant. :

ORDER

Before the Court are Movant’s Motion for Leave to Withdraw as Counsel filed by Attorney
Paulina Almanza and Almanza Terrazas PLLC (Docket Entry 16) and Plaintiff's Motion to File
Under Seal Exhibits (Docket Entry 18). Pretrial and scheduling matters in this case have been
referred to the undersigned pursuant to 28 U.S.C. § 636(b). (See Docket Entry 5.)

Having reviewed Movant’s motion, Plaintiff's response, and the additional ex parte
documents filed by Movant, the Court finds that Movant’s motion to withdraw (Docket Entry 16)
is GRANTED and Paulina Almanza and Almanza Terrazas PLLC are withdrawn as counsel of
record for Plaintiff. It is FURTHER ORDERED that Plaintiff's Motion to Seal (Docket Entry
18) is GRANTED.

It is FURTHER ORDERED that both Plaintiff and Defendants must secure counsel in
this case and the deadline for the parties to secure counsel is extended to on or before December

12, 2024.

! The Court notes that this deadline is the same date as the Video Initial Pretrial Conference
is set. (See Docket Entry 19.)
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SIGNED on November 12, 2024.

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United States Magistrate Judge

